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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA                               Case No. 1:19-CR-00117-RJJ
                       Plaintiff,
v.                                                     Hon. Robert J. Jonker

LARRY CHARLES INMAN,                                   GOVERNMENT'S
                       Defendant(s).                   INITIAL PRETRIAL CONFERENCE
                                                       SUMMARY STATEMENT

I.    DISCOVERY
      A.    Statements of Defendant

            1.    Oral Statements (Rule 16(a)(1)(A))
                  There are no written records of oral statements or other oral statements as
                  defined in Rule 16(a)(1)(A).
                  There are the following written records of oral statements:
                  Summary of FBI Interview on August 01, 2018
                  Summary of phone call to FBI on October 16, 2018
                  Summary of phone call to FBI on October 17, 2018
                  Summary of FBI Interview on December 07, 2018
                  The substance of which
                       has been disclosed to defense counsel.
                       will be disclosed to defense counsel by          May 28, 2019            .

            2.    Written or Recorded Statements (Rule 16(a)(1)(B))
                  There are no written or recorded statements or grand jury testimony of
                  defendant.
                  There are the following written or recorded statements or grand jury
                  testimony:
                  (See attached continuation)




                  All written or recorded statements
                       have been disclosed to defense counsel.
                       will be disclosed to defense counsel by          May 28, 2019            .
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B.   Defendant's Prior Record (Rule 16(a)(1)(D))

     The Government has made due inquiry and is not aware of any prior criminal record.
     The Government has disclosed defendant's prior criminal history.
     The Government is now making inquiry into defendant's prior criminal history. The
     results will be disclosed to defense counsel upon receipt.

C.   Documents and Tangible Objects (Rule 16(a)(1)(E))
     The Government has no documents, tangible objects, or physical evidence required
     to be disclosed.
     The Government has the following documents, tangible objects, and physical
     evidence:
          Drug Paraphernalia        Drug Records              Inventory (attached)
          Controlled Substances:
          Records:                       (See attached continuation)
          Firearms:
          Other:
      The Government voluntarily notifies the defendant of the following search warrants
      issued and the warrant returns:
          State
          Federal:
           Case No.       18-MJ-240         Re:          Search of Larry Inman
           Case No.       18-MJ-241         Re:     Search of Larry Inman's residence
           Case No.                         Re:
      They have been made available for inspection and copying by defense counsel.
      Defense counsel should make arrangements with:



D.   Reports of Examinations and Tests (Rule 16(a)(1)(F))
     The Government has no reports of examinations or tests required to be disclosed by
     Rule 16.
     The Government has or expects to have reports of the following examinations and
     tests:
          Drug Analysis                  Handwriting                 Fingerprints
          DNA                            Firearms/Nexus              Gun Operability
          Computer Forensics             Other:       Cell phone data extraction


E.   Reciprocal Discovery

     The Government seeks reciprocal discovery.
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       F.      Notice Under FRE 404(b)

               The Government does not presently intend to introduce 404(b) evidence.
               The Government does presently intend to introduce the following 404(b) evidence:
                Defendant's solicitation of campaign contributions from the International
                Brotherhood of Electrical Workers via text messages on June 1, 2018, that reference
                the impending prevailing wage vote in the Michigan House of Representatives.


             The Government will provide pretrial notice of 404(b) evidence by                                .

       G.      Other Discovery Matters




II.    TRIAL
       A.    The Government requests a            jury        non-jury trial.
       B.    The length of trial excluding jury selection is estimated at         three days        .


III.   MISCELLANEOUS
       The parties acknowledge that if the case is appropriate for expedited resolution, a joint
       motion for expedited sentencing shall be filed within 14 days of arraignment.

            The Government is unaware at this time of any known conflict with defendant's
            representation by counsel. The United States will immediately advise counsel if any
            such conflict becomes known.
            The Government is aware of the following potential conflicts:




            Government's plea negotiation policy:

            The government will not move for a one-level decrease in the offense level under
            U.S.S.G. § 3E1.1(b) for early acceptance of responsibility if the defendant pleads guilty
            less than 14 days before the final pretrial conference.




Date            May 23, 2019                                 /s/ Christopher M. O'Connor
                                                  Counsel for the United States

                                                                                                    (Rev. 03/01/2019)
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                            Continuation of Government’s
                   Initial Pretrial Conference Summary Statement


Written or Recorded Statements (Rule 16(a)(1)(B))

   •    Consensually-monitored and recorded phone call between “Person A” and

        Larry Inman on June 19, 2018

   •    Statements made to Michigan’s Big Show in an audio-recorded interview on

        May 16, 2019

   •    Statements made to The Detroit News in a video-recorded interview on May

        16, 2019

   •    Statements made to MLive.com in a video-recorded interview on May 16,

        2019

   •    Statements made to the Detroit Free Press in a video-recorded interview on

        May 16, 2019

Documents and Tangible Objects (Rule 16(a)(1)(E))

   •    Huntington National Bank records

   •    AT&T phone records

   •    Michigan Regional Council of Carpenters and Millwrights records

   •    Data (including text messages) extracted from the Samsung cellular

        telephone seized and searched at Defendant’s residence on August 1, 2018,

        pursuant to a federal search warrant

   •    Text messages provided by International Brotherhood of Electrical Workers
